 Case 1:21-cv-00282-MAC Document 10 Filed 08/02/21 Page 1 of 1 PageID #: 39




UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


THERESSA C. LEVINE,                             §
                                                §
                Plaintiff,                      §
                                                §
versus                                          §           CIVIL ACTION NO. 1: 21-CV-282
                                                §
CLIENT SERVICES, INC.,                          §
                                                §
                Defendants.                     §

                                   ORDER OF DISMISSAL

         The parties’ Stipulation of Dismissal Without Prejudice (#9) is GRANTED. Accordingly,

the above-styled case is dismissed without prejudice. Each party shall bear its own costs of court

and attorney’s fees.

         THIS IS A FINAL JUDGMENT.

         SIGNED at Beaumont, Texas, this 2nd day of August, 2021.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
